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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)
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      -and-

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    Local Counsel for Landlords affiliated with
    Boston Properties, Inc., Beacon Capital
    Partners LLC, Columbia Property Trust and
    Manulife Investment Management (John
    Hancock Life Insurance Company)

    In re:                                                             Chapter 11

    WEWORK INC., et al.,                                               Case No. 23-19865-JKS

                                   Debtors.1                           Joint Administration Pending




                           CERTIFICATION OF DOUGLAS B. ROSNER, ESQ.


1
 The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: WeWork Inc. (4904), in addition to all affiliates listed in Rider 1 to the petition filed in this case [Doc 1].
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             Certification of Douglas B. Rosner Esq. Page 2 of 3


 I, Douglas B. Rosner, Esq., hereby certify as follows:

 1.     I am a partner with the law firm of Goulston & Storrs P.C., co-counsel to the Landlords

        affiliated with Boston Properties, Inc., Beacon Capital Partners LLC, Columbia Property

        Trust and Manulife Investment Management (John Hancock Life Insurance Company).

        My office is located at 400 Atlantic Avenue, Boston, MA            02110.     I make this

        Certification in support of my application to appear in this case pro hac vice pursuant to

        Local Bankruptcy Rule 9010-1.

 2.     I was admitted to practice law in the Commonwealth of Massachusetts in 1992, and the

        State of New York in 2014. I am admitted to Practice before the following courts:

            •   United States Supreme Court;

            •   United States First Circuit Court of Appeals;

            •   United States Seventh Circuit Court of Appeals;

            •   United States District Court for the District of Massachusetts; and

            •   United States District Court for the Southern District of New York.

            I am a member in good standing of the Bar in each of the jurisdictions in which I am

            admitted to practice.

 3.     No disciplinary proceedings are pending against me in any jurisdiction. No discipline has

        previously been imposed on me in any jurisdiction. I have never been suspended or

        disbarred from the practice of law.

 4.     I have obtained a copy of the Local Bankruptcy Rules and am generally familiar with

        such Rules. I will comply with all court and ethical rules governing the practice of law

        before this Court.
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  5.      I further agree to pay all fees to the Clerk of the United States District Court for the

          District of New Jersey and the Lawyer’s Fund for Client Protection as provided in Rule

          101.1 of the Local Rules of the United States District Court for the District of New Jersey.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

  knowledge, information, and belief.


Dated: November 7, 2023                             /s/ Douglas B. Rosner
                                                  DOUGLAS B. ROSNER, ESQ.
                                                  Goulston & Storrs P.C.
                                                  400 Atlantic Avenue
                                                  Boston, MA 02110
                                                  Email: drosner@goulstonstorrs.com

                                                  Co-Counsel for Landlords affiliated with
                                                  Boston Properties, Inc., Beacon Capital
                                                  Partners LLC, Columbia Property Trust and
                                                  Manulife Investment Management (John
                                                  Hancock Life Insurance Company)
